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Travis Jordan, WSB # 7-5721
Senior Assistant Attorney General
Wyoming Attorney General’s Office
109 State Capitol
Cheyenne, Wyoming 82002
(307) 777-7895 (phone)
(307) 777-3542 (fax)
travis.jordan@wyo.gov

Attorney for Proposed Intervenor-Defendant State of Wyoming

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE WILDERNESS SOCIETY, et al.,

                Plaintiffs,                               Case No.: 1:22-cv-01871-CRC

        v.                                                  STATE OF WYOMING’S
                                                             [PROPOSED] ANSWER
 DEBRA HAALAND, et al.,

                Defendants.



       The State of Wyoming submits this proposed answer to Plaintiffs’ complaint and asserts

the State’s affirmative defenses as follows:

1.     Wyoming admits the allegations in the following: the first sentence of Paragraph 2; the

       first sentence of Paragraph 13; Paragraph 14; Paragraph 15; the first sentence of Paragraph

       27; the third sentence of Paragraph 32; the first sentence of Paragraph 46; and the first

       sentence of Paragraph 48. Wyoming also admits the allegation in the first sentence of

       Paragraph 44 but denies Plaintiffs’ characterization that the action was a response to

       purported “systemic flaws” in the in the federal oil and gas leasing program.

2.     Wyoming denies the allegations in the following: Paragraphs 3 through 8; Paragraph 12;

       the first sentence of Paragraph 29; the first sentence of Paragraph 32; the first sentence of
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     Paragraph 42; the fourth sentence of Paragraph 42; the first sentence of Paragraph 43; the

     first sentence of Paragraph 47; Paragraphs 49 through 55; Paragraphs 58 and 59;

     Paragraphs 62 and 63; Paragraphs 66 through 68; Paragraphs 71 through 73; Paragraphs

     76 through 78; and Paragraphs 80 through 83.

3.   The allegations in the following purport to characterize the Plaintiffs’ case or are

     conclusions of law: Paragraph 1; the second and third sentence of Paragraph 2; Paragraphs

     16 through 26; the second and third sentence of Paragraph 27; Paragraph 28; the second

     sentence of Paragraph 32; the fifth sentence of Paragraph 35; Paragraph 36; Paragraph 38;

     Paragraphs 40 and 41; the third and fourth sentence of Paragraph 43; the second sentence

     of Paragraph 44; Paragraph 45; the second through fourth sentences of Paragraph 46; the

     second and third sentences of Paragraph 47; the second and third sentences of Paragraph

     48; Paragraph 57; Paragraph 61; Paragraph 65; Paragraph 70; and Paragraph 75. To the

     extent a response is required, Wyoming denies the allegations.

4.   Wyoming is without knowledge or information sufficient to form a belief as to the truth of

     the allegations in the following: Paragraphs 9 through 11; the second sentence of Paragraph

     13; the second and third sentence of Paragraph 29; Paragraph 30; and the fourth sentence

     of Paragraph 32. To the extent a response is required, Wyoming denies the allegations.

5.   The allegations in the following purport to cite selective portions of scientific literature or

     agency documents, which when read in full, speaks for itself: Paragraph 33; the third and

     fourth sentences of Paragraph 35; the first and second sentences of Paragraph 37; the

     second and third sentences of Paragraph 39; and the second and third sentences of

     Paragraph 42. To the extent a response is required, Wyoming denies the allegations.




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6.   The allegations in the following purport to characterize uncited, unsubstantiated, or

     unverifiable literature, scientific conclusions, or facts: Paragraph 31; Paragraph 34; the first

     and second sentences of Paragraph 35; the third sentence of Paragraph 37; the first sentence

     of Paragraph 39; and the second sentence of Paragraph 43. To the extent a response is

     required, Wyoming denies the allegations.

7.   The allegations in Paragraphs 56, 60, 64, 69, 74, and 79 incorporate by reference

     previously-stated allegations, therefore no response is required. To the extent that a

     response is required, Wyoming denies the allegations.

8.   Wyoming denies each and every allegation in the complaint which has not been specifically

     admitted herein.

9.   Wyoming denies that Plaintiffs are entitled to the relief requested. (ECF No. 1 at 25).

                                AFFIRMATIVE DEFENSES

1.   Plaintiffs fail to state a claim upon which relief can be granted.

2.   Plaintiffs failed to exhaust administrative remedies.

3.   Plaintiffs’ claims are barred, in whole or in part, by application of res judicata and/or

     collateral estoppel.

4.   This Court lacks subject matter jurisdiction to review some or all of Plaintiffs’ claims.

5.   The United States District Court for the District of Columbia is not an appropriate venue

     for reviewing the challenged federal leases because a substantial part of the events giving

     rise to Plaintiffs’ complaint occurred within the jurisdiction of the United States District

     Court for the District of Wyoming pursuant to 28 U.S.C. § 1391(e)(1). Additionally, all of

     the federal lands subject to Plaintiffs’ complaint with respect to the challenged oil and gas

     leases are located within the United States District Court for the District of Wyoming.



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6.     The United States District Court for the District of Columbia is not a convenient venue for

       reviewing the challenged Wyoming federal oil and gas leases and this case should be

       transferred to the United States District Court for the District of Wyoming pursuant to 28

       U.S.C. § 1404.

7.     Wyoming reserves the right to assert additional affirmative defenses that may be

       discovered after filing of this Answer.

       WHEREFORE, the State of Wyoming requests that Plaintiffs’ complaint be dismissed with

prejudice, that it be awarded its costs incurred herein, and for such other and further relief as this

Court deems just and proper.



       DATED this 29th day of August, 2022.


                                                      /s/ Travis Jordan
                                                      Travis Jordan, WSB No. 7-5721
                                                      Senior Assistant Attorney General
                                                      Wyoming Attorney General’s Office
                                                      109 State Capitol
                                                      Cheyenne, WY 82002
                                                      (307) 777-7895 (phone)
                                                      (307) 777-3542 (fax)
                                                      travis.jordan@wyo.gov

                                                      Counsel for Proposed Intervenor-Defendant
                                                      State of Wyoming




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